          Case 4:14-cv-02286 Document 1 Filed on 08/08/14 in TXSD Page 1 of 5




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

CHAD MORRIS,                                         § No. 4:14-cv-2286
                                                     §
     Plaintiff,                                      §
                                                     §
     v.                                              §
                                                     §
GC SERVICES, LP                                      §
                                                     §
     Defendant.                                      §
                                                     §

                                     PLAINTIFF’S COMPLAINT

          CHAD MORRIS (Plaintiff), through attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP (Defendant):

                                            INTRODUCTION

1.        Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C.

            1692 et seq. (FDCPA).

                                    JURISDICTION AND VENUE

2.        Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

          actions may be brought and heard before “any appropriate United States district court

          without regard to the amount in controversy.”

3.        Because Defendant is located in and conducts business in the State of Texas, personal

          jurisdiction is established.

4.        Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




                                         PLAINTIFF’S COMPLAINT                                         1
       Case 4:14-cv-02286 Document 1 Filed on 08/08/14 in TXSD Page 2 of 5




                                             PARTIES

5.      Plaintiff is a natural person residing in Chaparral, New Mexico and is allegedly obligated to

        pay a debt and is a “consumer” as that term is defined by 15 U.S.C. 1692a(3).

6.      Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6), Defendant is a debt collector

        and sought to collect a consumer debt from Plaintiff which was allegedly due and owing

        from Plaintiff, and Plaintiff is a consumer debtor.

7.      Defendant is a debt collection company located in Houston, Texas.

8.      Defendant uses instrumentalities of interstate commerce or the mails in any business the

        principal purpose of which is the collection of any debts, or who regularly collects or

        attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due

        another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

9.      Defendant acted through its agents, employees, officers, members, directors, heirs,

        successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

     10. Defendant places collection telephone calls to Plaintiff in an attempt to collect an alleged

        debt.

     11. Plaintiff’s alleged debt arises from transactions for personal, household, and/or family

        purposes.

     12. Defendant places collection calls to Plaintiff at 575-642-19XX and 575-649-38XX.

     13. On or around April 1, 2014, Defendant placed a collection call to Plaintiff and left a

        voicemail message.




                                    PLAINTIFF’S COMPLAINT                                            2
  Case 4:14-cv-02286 Document 1 Filed on 08/08/14 in TXSD Page 3 of 5




14. In the voicemail message, Defendant’s representative, “Andrea,” failed to state that the call

   was being placed by a debt collector, and failed to state that the call was being placed to

   collect an alleged debt. See Transcribed Voicemail Message attached hereto as Exhibit “A.”

15. In the voicemail message, Defendant’s representative, “Andrea,” directed Plaintiff to return

   the call to 1-800-846-6406 extension 5717, which is a number that belongs to Defendant.

   See Exhibit “A.”

16. On or around April 2, 2014, Defendant placed a collection call to Plaintiff and left a second

   voicemail message.

17. In the second voicemail message, Defendant’s representative, “Andrea,” failed to state that

   the call was being placed by a debt collector, and failed to state that the call was being

   placed to collect an alleged debt. See Transcribed Voicemail Message attached hereto as

   Exhibit “B.”

18. In the second voicemail message, Defendant’s representative, “Andrea,” directed Plaintiff to

   return the call to 1-800-846-6406 extension 5717, which is a number that belongs to

   Defendant. See Exhibit “B.”

19. On or around April 10, 2014, Defendant placed a collection call to Plaintiff and left a third

   voicemail message.

20. In the third voicemail message, Defendant’s representative, “Andrea,” failed to state that the

   call was being placed by a debt collector, and failed to state that the call was being placed to

   collect an alleged debt. See Transcribed Voicemail Message attached hereto as Exhibit “C.”

21. In the third voicemail message, Defendant’s representative, “Andrea,” directed Plaintiff to

   return the call to 1-800-846-6406 extension 5717, which is a number that belongs to

   Defendant. See Exhibit “C.”
                                PLAINTIFF’S COMPLAINT                                            3
        Case 4:14-cv-02286 Document 1 Filed on 08/08/14 in TXSD Page 4 of 5




      22. Defendant is using false, deceptive and misleading means in connection with attempting to

         collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

         collect a debt.

                                                  COUNT I

      DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

23.      Defendant violated the FDCPA based on the following:

             a. Defendant violated § 1692e of the FDCPA by using false, deceptive or misleading

                 representations or means in connection with the collection of the debt;

             b. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

                 attempt to collect a debt;

             c. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

                 communications with Plaintiff that the communication was from a debt collector.

         WHEREFORE, Plaintiff, CHAD MORRIS, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

24.      Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

         U.S.C. 1692k;

25.      Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

         U.S.C. 1692k; and

26.      Any other relief that this Honorable Court deems appropriate.

                                                        RESPECTFULLY SUBMITTED,

         Dated:_____________                            By:_________________________
                                                        Ryan S. Lee
                                                        Krohn & Moss, Ltd
                                                        10474 Santa Monica Blvd.
                                                        Suite 405
                                     PLAINTIFF’S COMPLAINT                                             4
Case 4:14-cv-02286 Document 1 Filed on 08/08/14 in TXSD Page 5 of 5




                                     Los Angeles, CA 90025
                                     (323) 988-2400 x241
                                     (866) 861-1390 (fax)
                                     Email: rlee@consumerlawcenter.com




                      PLAINTIFF’S COMPLAINT                              5
